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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                     No. 4:12CR00040-03 JLH

TAMARIO WASHINGTON                                                               DEFENDANT

                                              ORDER

       The government has filed a motion to dismiss indictment as to Tamario Washington. Without

objection, the motion is GRANTED. Document #76. The indictment is hereby dismissed without

prejudice as to this defendant only.

       IT IS SO ORDERED this 15th day of October, 2013.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
